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                               UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF OHIO
                                    WESTERN DIVISION

 UNITED STATES OF AMERICA,

                          v.
                                                          CASE NO. 1 ! 2 3 CR'' 0 8
                                                          JUDGE J. McFARL
 FARHAN JAMI,                                                                   D
                                                          INDICTMENT
                     Defendant.
                                                          18 U.S.C. §§ 844(i) and 2




THE GRAND JURY CHARGES:

                                            COUNT!

                         (Malicious Destruction by Fire and Attempt)

       On or about May 16, 2023, in the Southern District of Ohio and elsewhere, the defendant,

FARHAN JAMI, did knowingly and maliciously damage and destroy, and attempted to do so, by

means of fire and explosive materials, the vehicle and real property of Victims A, B, and C, located

in Monroe, Ohio, and such property was used in interstate commerce and in activities that affect

interstate commerce.

       In violation of 18 U.S.C. §§ 844(i) and 2.

                                              A TRUE BILL.

                                                            / S/
                                              FOREPERSON

KENNETH L. PARK.ER
UNITED STATES ATTORNEY


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           MANG~ ~     ~
ASSISTANT UNITED STATES ATTORNEY
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